Case 6:25-cr-00005-JS$-DCl DéSuPenickeGoprt Filed 11
Middle Disaict of Florida
Orlatiao sion

D5/24 Page 1of 2 PagelD 55

GOVERNMENT EXHIBIT

/

Case No.: 6:24-mj-2118-DCI

Exhibit No.:

UNITED STATES OF AMERICA

VS;

MICHAEL SCHEUER

Date Identified: \\ \ S \ Léa
Date Admitted: \ \ | > | 2 4

Case 6:25-cr-00005-JSS-DCI Document 23-1 Filed 11/05/24 Page 2 of 2 PagelD 56

a3 i
So. oe

ie |] errand Boe a Ce lad

